USCA Case #24-1120               Document #2065493             Filed: 07/19/2024   Page 1 of 3



                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                            ____________
No. 24-1120                                                      September Term, 2023
                                                                              EPA-89FR39798
                                                            Filed On: July 19, 2024
State of West Virginia, et al.,

                  Petitioners

         v.

Environmental Protection Agency and
Michael S. Regan, Administrator, United
States Environmental Protection Agency,

                  Respondents

------------------------------

Louisiana Public Service Commission, et al.,
                  Intervenors
------------------------------

Consolidated with 24-1121, 24-1122,
24-1124, 24-1126, 24-1128, 24-1142,
24-1143, 24-1144, 24-1146, 24-1152,
24-1153, 24-1155, 24-1222, 24-1226,
24-1227, 24-1233


         BEFORE:           Millett, Pillard, and Rao, Circuit Judges

                                              ORDER

       Upon consideration of the motions for stay, the oppositions thereto, the replies,
the Rule 28(j) letter, and the responses thereto; and the motions to participate as amici
curiae and the lodged amicus briefs, it is

       ORDERED that the motions of the Chamber of Commerce, the Sierra Club, the
Environmental Defense Fund, and Professor Rachel Rothschild to participate as amici
curiae be granted. The Clerk is directed to file the lodged amicus briefs. It is
USCA Case #24-1120         Document #2065493             Filed: 07/19/2024     Page 2 of 3



                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 24-1120                                                September Term, 2023

        FURTHER ORDERED that the motions for stay be denied. Petitioners have not
satisfied the stringent requirements for a stay pending this court’s review. See Nken v.
Holder, 556 U.S. 418, 434 (2009); D.C. CIRCUIT HANDBOOK OF PRAC. AND INTERNAL
PROCS. 33 (2021).
       On the merits, petitioners dispute whether the Environmental Protection Agency
(“EPA”) acted arbitrarily or capriciously in determining that carbon capture and other
emission control technologies are adequately demonstrated, or that specific degrees of
emission mitigation are achievable with those technologies. But petitioners have not
shown they are likely to succeed on those claims given the record in this case. Nor
does this case implicate a major question under West Virginia v. EPA, 142 S. Ct. 2587
(2022), because EPA has claimed only the power to “set emissions limits under Section
111 based on the application of measures that would reduce pollution by causing the
regulated source to operate more cleanly[,]” a type of conduct that falls well within
EPA’s bailiwick, id. at 2610.
        On irreparable harm, actual compliance deadlines do not commence until 2030
or 2032—years after this case will be resolved. Though the first deadline for States to
submit state implementation plans is May 2026, the only consequence of failing to
submit a state plan is the promulgation of a federal plan—which the States can replace
with their own plans later. EPA Opp., Ex. 1, Goffman Decl. ¶ 100. To the extent
petitioners claim harm due to the need for long-term planning, a stay will not help
because the risk remains that the distant deadlines in EPA’s rule will come back into
force at the end of the case.
       EPA has suggested that this case be expedited as an alternative means of
protecting all parties’ interests. Accordingly, to ensure this case can be argued and
considered as early as possible in the court's 2024 term, it is
        FURTHER ORDERED that the parties submit, within 14 days from the date of
this order, proposed formats and schedules for the briefing of these cases. The parties
are strongly urged to submit a joint proposal and are reminded that the court looks with
extreme disfavor on repetitious submissions and will, where appropriate, require a joint
brief of aligned parties with total words not to exceed the standard allotment for a single
brief. Whether the parties are aligned or have disparate interests, they must provide
detailed justifications for any request to file separate briefs or to exceed in the


                                          Page 2
USCA Case #24-1120      Document #2065493              Filed: 07/19/2024       Page 3 of 3



               United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                   ____________
No. 24-1120                                              September Term, 2023

aggregate the standard word allotment. Requests to exceed the standard word
allotment must specify the word allotment necessary for each issue.

                                     Per Curiam


                                                       FOR THE COURT:
                                                       Mark J. Langer, Clerk

                                               BY:     /s/
                                                       Selena R. Gancasz
                                                       Deputy Clerk




                                        Page 3
